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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 UNITED STATES OF AMERICA,

 v.          CASE NO. 8:12-CR-205-T-17MAP

 ANGEL VILLANUEVA, et al.

                                     /


                                         ORDER


         This cause is before the Court sua soonte. Witness Eric Neri has now
 concluded his testimony in this case. The Court therefore directs the U.S. Marshal to
 release Witness Neri from custody. Accordingly, it is


         ORDERED that the U.S. Marshal shall release Witness Eric Neri from custody.


         DONE and ORDERED in Chambers in Tampa, Florida on this^ - S V aay of July,
 2016.




 Copies to:
 All parties and counsel of record
 Julie Thomas, Esq.
 U.S. Marshal
